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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                   NORTHERN DIVISION
                                       (at Covington)


 STATE OF TENNESSEE, et al.,

                Plaintiffs,

        v.                                         Case No. 2:24-cv-00072-DCR-CJS
                                                   District Judge Danny C. Reeves
 MIGUEL CARDONA, in his official capacity          Magistrate Judge Candace J. Smith
 as Secretary of Education, and UNITED
 STATES DEPARTMENT OF EDUCATION,

                Defendants.


                                 NOTICE OF WITHDRAWAL

       Please take notice that the undersigned attorney, Benjamin Takemoto, of the United

States Department of Justice, Civil Division, Federal Programs Branch, withdraws his

appearance in the above-captioned case on behalf of all Defendants. Defendants have been

notified of this withdrawal, and all other attorneys for Defendants remain attorneys of record in

this case. See E.D. Ky. L.R. 83.6(b).


                                                     BRIAN M. BOYNTON
Date: January 4, 2025                                Principal Deputy Assistant Attorney General

                                                     EMILY B. NESTLER
                                                     Assistant Branch Director

                                                     /s/ Benjamin Takemoto
                                                     BENJAMIN TAKEMOTO
                                                     Trial Attorney, U.S. Department of Justice
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                                         Counsel for the Defendants




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